                                                                   Case 2:17-cv-03082-APG-PAL Document 11 Filed 06/01/18 Page 1 of 3



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                                                               7

                                                               8   Attorneys for Plaintiff Lindbergh and Shine LLC
                                                               9                               UNITED STATES DISTRICT COURT
                                                              10                                     DISTRICT OF NEVADA
                                                              11   LINDBERGH AND SHINE LLC, a Delaware                 Case No.: 2:17-cv-3082-APG-PAL
                                                                   limited liability company,
                                                              12                                                       NOTICE OF VOLUNTARY DISMISSAL
                   Main (702) 541-7888 • Fax (702) 541-7899




                                                                                 Plaintiff,                            WITH PREJUDICE
                      7495 West Azure Drive, Suite 233




                                                              13
GIBSON LOWRY LLP
                           Las Vegas, Nevada 89130




                                                                          v.
                                                              14
                                                                   PWT GROUP A/S, a Denmark entity; OLE
                                                              15   KOCH, an individual; and ASOS.COM
                                                                   LIMITED, a United Kingdom entity,
                                                              16
                                                                                 Defendants.
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                                                              20          Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiff

                                                              21   Lindbergh and Shine LLC (“Plaintiff” or “Lindbergh”), by and through its counsel, Gibson

                                                              22   Lowry LLP, voluntarily dismisses its claims against PWT Group A/S, Ole Koch, and ASOS.com

                                                              23   Limited (together “Defendants”) with prejudice.

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                                                               1          This notice of Dismissal is being filed with the Court before Defendants have served
                                                               2   either an answer or motion for summary judgment.
                                                               3          Respectfully submitted this 1st day of June, 2018.
                                                               4                                                GIBSON LOWRY LLP
                                                               5
                                                                                                                /s/ Steven A. Gibson
                                                               6                                           By   STEVEN A. GIBSON, ESQ.
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                                                               1                                    CERTIFICATE OF SERVICE
                                                               2

                                                               3            Pursuant to Local Rule 5 of this Court, I certify that I am an employee of GIBSON LOWRY
                                                               4   LLP   and that on June 1, 2018, I caused a correct copy of the foregoing NOTICE OF
                                                               5   VOLUNTARY DISMISSAL WITH PREJUDICE to be served via CM/ECF to:
                                                               6     Constance L. Akridge, Esq.
                                                                     clakridge@hollandhart.com
                                                               7     Susan M. Shwartz, Esq.
                                                                     smschwartz@hollandhart.com
                                                               8     Holland & Hart LLP
                                                                     9555 Hillwood Drive, 2nd Floor
                                                               9     Las Vegas, Nevada 89134
                                                                     Attorneys for Defendant Ole Koch Hansen (named as Ole Koch)
                                                              10

                                                              11                                                       /s/ Raisha Y. Gibson
                                                                                                                       An employee of GIBSON LOWRY LLP
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